         Case 1:17-cr-00232-EGS Document 130 Filed 10/29/19 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

               v.
                                                          Crim. No. 17-232 (EGS)
    MICHAEL T. FLYNN,

                            Defendant




       GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO PRODUCE
                 NEWLY DISCOVERED BRADY EVIDENCE

        The United States of America, by and through its undersigned counsel, respectfully files

this response to defendant Michael Flynn’s Motion to Produce Newly Discovered Brady

Evidence, United States v. Flynn, 17-cr-232 (Doc. 124) (D.D.C. Oct. 15, 2019). In the motion,

the defendant requests information pertaining to two phones that allegedly “were used by Mr.

Joseph Mifsud” and are allegedly in the possession of the government. Id. at 2. According to the

defendant, the phones contain information on individuals tasked against the defendant as early as

2014. Id. 1

        The requested materials are not favorable and material to the defendant’s guilt or

punishment, or even relevant to this criminal case. See, e.g., United States v. Bagley, 473 U.S.

667, 667 (1985) (“favorable to an accused . . . where the evidence is material either to guilt or

punishment.”); Standing Order at 2, United States v. Flynn, No. 17-cr-232 (D.D.C. Feb. 16,

2018) (Doc. 20) (requiring the government to produce “any evidence in its possession that is



1
       As the government has previously stated, its responses are not intended to, and should not
be read to, indicate that the requested information exists within the government’s holdings.
Should the Court have additional questions, the government is able to provide additional
information, ex parte and under seal.
         Case 1:17-cr-00232-EGS Document 130 Filed 10/29/19 Page 2 of 3



favorable to the defendant and material to either the defendant’s guilt or punishment.”). Mifsud

has no connection to the defendant’s communications with the Russian Ambassador in

December 2016, or to the defendant’s work on behalf of the Republic of Turkey, and the

defendant offers no argument or facts to the contrary. Rather, Mifsud is connected to the

criminal activity of George Papadopoulus, who on October 7, 2017, pleaded guilty to lying to the

Federal Bureau of Investigation (“FBI”) about the nature and timing of his interactions with

Mifsud. See Statement of Offense, United States v. George Papadopoulos, 17-cr-182 (D.D.C.

Oct. 5, 2017) (Doc. 19). None of the references to Mifsud in the Special Counsel Report are

connected to the defendant. See SPECIAL COUNSEL ROBERT S. MUELLER III, REPORT ON THE

INVESTIGATION INTO RUSSIAN INTERFERENCE IN THE 2016 PRESIDENTIAL ELECTION (Mar. 2019),

Vol. I. at 5, 81-93, 192-93. Accordingly, at this time, the government is not aware of any

information pertaining to the defendant’s motion that are even relevant to the defendant’s false

statements to the FBI on January 24, 2017, or to his punishment. And, thus, the defendant’s

motion should be denied.

                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     United States Attorney
                                                     D.C. Bar No. 472845

                                                     By:            /s/
                                                     Brandon L. Van Grack
                                                     Special Assistant U.S. Attorney
                                                     950 Pennsylvania Ave., NW
                                                     Washington, DC 20530
                                                     (202) 233-0968

                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney
                                                     555 4th Street, NW
                                                     Washington, D.C. 20530
Dated: October 29, 2019                              (202) 252-7252


                                                2
         Case 1:17-cr-00232-EGS Document 130 Filed 10/29/19 Page 3 of 3



                                 CERTIFICATE OF SERVICE

      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on October 29, 2019.




                                                        /s/
                                              Jocelyn Ballantine
                                              Assistant United States Attorney
                                              555 4th Street, NW
                                              Washington, D.C. 20530
                                              (202) 252-7252

                                              Attorney for the United States of America




                                                 3
